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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                          Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.




       COALTION PLAINTIFFS’ BRIEF IN SUPPORT OF
       MOTION FOR ADDITIONAL INJUNCTIVE RELIEF



                           October 2, 2018
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       Plaintiffs Coalition for Good Governance, William Digges III, Laura

Digges, Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”) file this

Brief in Support of their Motion for Additional Injunctive Relief.

I.     INTRODUCTION AND SUMMARY

       The Coalition Plaintiffs file this Motion to seek injunctive relief that is

consistent with the factual findings and legal conclusions of this Court’s Order

dated September 17, 2018 (Doc. 309) (“the Order”). The Coalition Plaintiffs do

not seek reconsideration of the Court’s denial of the request to replace the DRE

voting machines with paper ballots for the November 6, 2018 general election, and

understand the “Catch 22” presented by the timing of Plaintiffs’ initial motions..

Instead, the Coalition Plaintiffs seek relief that can be granted on the existing

evidentiary record and that will measurably improve the security and integrity of

the upcoming elections without disrupting or interfering with “the orderly

operation of the electoral and voting process.” (Id., at 2).1

       While this relief will not obviate the risk of errors and manipulation in the

upcoming November election, and falls short of the relief sought in Plaintiffs’



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  Page number citations to docketed documents throughout this Brief reference the blue page numbers
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preliminary injunction motions, it will reduce that risk in important respects

without raising the implementation and timing issues that caused the Court to deny

Plaintiffs’ motions.

       There will be other elections, and every election, and every vote, is

important. But the stakes today are very high, and there will never be another

opportunity to improve the reliability or security of this crucial 2018 mid-term

election. The Coalition Plaintiffs therefore urge this Court to order these

reasonable measures to improve the integrity of the election results and voter

confidence in the democratic process.

       The requested relief in this Motion falls into three categories. First, as

explained in Part III(A), the Coalition Plaintiffs seek relief that was requested in

the Coalition Plaintiffs’ Motion for Preliminary Injunction (Doc. 258) but not

expressly addressed in the Order. One such request is for this Court to order the

Defendants to correct errors in the electronic pollbooks in advance of the

November and December 2018 elections in order to halt the voter

disenfranchisement and confusion now occurring. Another such request is for this

Court to order the State Defendants to require counties to audit the results of the

scanned paper ballots after future elections, including the November election, and

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before the certification of those elections. This relief will prevent corruption of the

process for counting the numerous absentee and other paper ballots that are

expected in the upcoming election.

       Second, Part III(B) addresses relief that was not originally sought in the

Coalition Plaintiffs’ Motion, but nonetheless is warranted by the factual findings

and legal conclusions of this Court’s Order. Specifically, the Coalition Plaintiffs

ask this Court to enjoin Defendants in all upcoming elections (including the

November 2018 elections) from prohibiting counties from adopting paper ballots at

the polling place if the authorized officials in those counties determine that it is

feasible to do so. The Court held that state law does not prevent counties from

using paper ballots, but noted that the State Elections Board has adoted a rule

requiring use of DREs. Given the Court’s conclusions about the vulnerability of

DREs, if a county concludes that it can readily implement a shift to paper ballots

before Election Day, there is no justification for Defendants to block them from

doing so.

       Additionally in Part III (B) the Coalition Plaintiffs seek an order requiring

the Secretary of State to require all counties to determine that all DRE machine



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tape totals printed on election night are accurately summarized in the election

results reports from the GEMS server.

        Third, as explained in Part III(C), the Coalition Plaintiffs seek a preliminary

injunction requiring the Defendants to use paper ballots in every election after the

November 6, 2018 election, including (a) the special elections and potential run-off

elections scheduled for December 4, 2018 and (b) all the elections scheduled for

2019. The Coalition Plaintiffs are well aware of this Court’s concerns about the

potential difficulties counties might face if otherwise appropriate injunctive relief

were granted near Election Day. It is for this very reason that the Coalition

Plaintiffs seek a preliminary injunction now that prohibits the use of DRE

machines in any election after the November 6, 2018 election. Elections in

Georgia are always just around the corner: after the December 2018 special

elections and run-off, there are scheduled elections in 2019 in January, March,

April, June, July, September, October, November and December.2 The granting of

preliminary injunctive relief now is warranted under the balancing of the equities

and would have the salutary effect of taking the pressure off of the discovery and



2
 http://sos.ga.gov/index.php/elections/elections_and_voter_registration_calendars. Attached as Exhibit
A is a table showing each currently scheduled election through the end of 2019.
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trial schedules and eliminating the need to litigate motions for injunctive relief on

the eve of the elections implicated.

        Moreover, in its Order, the Court stressed the urgent need for a secure voting

system: “[T]he Court advises the Defendants that further delay is not tolerable in

their confronting and tackling the challenges before the State’s election balloting

system.” (Order, Doc 309, at 45.) The December and 2019 elections will likely

have much lower voter turnout and will involve far fewer ballot styles than will the

November 2018 general election. Given the additional time available, and the

relative size and scope of the post-November elections, the balancing of the

equities already conducted by this Court with respect to the originally requested

relief weighs heavily in favor of granting the requested relief for elections after

November 2018. Requiring those elections to be conducted using paper ballots,

not the compromised and insecure DRE machines, is in the public interest. 3




3
  Nothing in this Motion should interfere with Plaintiffs’ proposed schedule, issued in response to this
Court’s admonition to the parties to commence discovery immediately and to work diligently toward trial
on the merits. The schedule proposes expedited discovery starting on September 28, 2018 and trial
readiness in February 2019. (Doc. 319-1). Defendants have filed a Motion to Stay the case pending
appeal (Doc. 320.) which should be denied because the appeal is frivolous. (See Curling Plaintiffs’ Briefs
in Opposition, Doc. 323; Coalition Plaintiffs’ Brief in Opposition, Doc. 324).


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        The Coalition Plaintiffs do not seek oral argument or a hearing on this

Motion unless the Court deems it helpful to the Court’s consideration. The

Coalition Plaintiffs respectfully request that this Court issue an accelerated briefing

schedule to allow this Motion to be resolved in an expeditious manner.

II.     RELEVANT FINDINGS AND HOLDINGS IN THE ORDER

        Among the many important findings and legal conclusions in the Order, four

are particularly germane to this Motion.

        First, although the relief requested in the Plaintiffs’ initial motions focused

on DRE voting machines themselves, the extreme vulnerabilities shown by the

evidence, and discussed by the Court in its Order, extend to the entire DRE system:

the Diebold electronic pollbooks, the DRE voting machines themselves, the

Diebold AccuVote Optical Scanners, and the GEMS servers.4




4
 (E.g., Order, Doc. 309 at 6 (“Viruses and malware have also been developed by cyber specialists that
can spread the ‘vote stealing malware automatically and silently from machine to machine during normal
pre- and post-election activities,’ as the cards are used to interface with the County and State GEMS
servers.”); id. at 34 (“Plaintiffs shine a spotlight on the serious security flaws and vulnerabilities in the
State’s DRE system – including unverifiable election results, outdated software susceptible to malware
and viruses, and a central server that was already hacked multiple times.”); Doc. 258-1 at 42 (Bernhard
Decl. (“The Diebold DRE system, including the ExpressPollbook, is known to be vulnerable to malicious
manipulation that would produce” the kinds of registration errors and anomalies reported in Georgia).)


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       Second, the State Defendants have done nothing to address either the

intrinsic defects of the DRE system or the exacerbated vulnerabilities caused by

the State’s neglect. “[T]he State offered little more than a one-sentence response

to these data system incursions and vulnerabilities at CES.” (Order, Doc. 309 at

9). “In fact, Defendants presented scant evidence to rebut Plaintiffs’ expert

evidence regarding Georgia’s persistent failure to update or replace systems,

despite security flaws identified by the software industry.” (Order, Doc. 309 at 34-

35). The Secretary has performed no forensic examination of any of the computer

systems that were exposed at KSU. (Tr. at 224). Defendants presented no

witnesses to address the impact of the voting system’s compromise-by-exposure at

CES or to explain what remedial efforts, if any, the Defendants undertook to

ensure the integrity of the system or its data following that compromise. (Order,

Doc. 309 at 34-35).

       Third, the Court concluded that Plaintiffs will likely prove that the State

Defendants are continuing to violate the Plaintiffs’ constitutional rights – in the

November election and in every subsequent election – until Georgia’s flawed

election system is remedied. “[T]he State’s continued reliance on the use of DRE

machines in public elections likely results in ‘a debasement or dilution of the

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weight of [Plaintiffs’] vote[s],” even if such conduct does not completely deny

Plaintiffs the right to vote. Bush v. Gore, 531 U.S. 98, 105 (2000).” (Order, Doc.

309 at 33). “Absent an injunction, there is a threat that Plaintiffs’ votes in the

upcoming elections will not be accurately counted.” (Order, Doc. 309 at 40).

       Finally, the equities identified by the Court in favor of denying relief as

specific to the timeline leading up to the November election and focus on the

potential disruption caused by mandating replacement of DREs with paper ballots.

“For upcoming elections after November 2018, Defendants are forewarned that

these same arguments would hold much less sway in the future – as any timing

issue then would appear to be exclusively of Defendants’ own making at that

point.” (Order at 44).

III.   REQUESTS FOR RELIEF

A.     Relief Not Expressly Addressed

       1.     Electronic Pollbook Accuracy

              a)     Relief Initially Sought and Court’s Disposition

       In their Motion for Preliminary Injunction, the Coalition Plaintiffs sought an

order requiring “the Defendant Secretary of State, before October 1, 2018, to

conduct an audit of and correct any identified errors in the DRE system’s

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electronic pollbook data that will be used” in the November and December

elections. (Doc. 258, at 2.) The Order does not specifically address this request,

which is fully consistent with the Court’s findings and analysis. Correcting errors

in the electronic pollbook data will improve the accuracy and integrity of the

pollbooks in the polling place and will greatly reduce voter disenfranchisement and

voter confusion.

              b)     Vulnerability and Corruption of Electronic Pollbooks

       As this Court found, the electronic pollbooks are a part of the vulnerable

Diebold system that the State has done nothing to remediate. The electronic

pollbook computers, maintained in each voting place, reference voter data and

create the DRE Voter Access Card that activates the specific electronic ballot on

the DRE machine that should contain the accurate ballot contests based on the

voter’s address. (Order, Doc. 309, at 4 n.4). A working copy of the Secretary’s

voter registration information, which populates the electronic pollbooks, was

previously maintained by the Center for Election Services at Kennesaw State

University, (id. at 24), where it was left accessible to the public for at least six

months during the period from August 2016 to March 1, 2017. (Id. at 34).




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       With their initial brief, the Coalition Plaintiffs presented alarming evidence

from a number of voters in recent 2018 elections documenting unexplained

discrepancies between their voter registration information in Diebold’s electronic

pollbooks maintained at the voting places and their information in the Secretary’s

official voter registration records, or errors in the official voter registration records

themselves. (Doc. 258-1 at 19–20). The evidence from individual voters who

produced photographic and documentary evidence, which likely represented only a

fraction of what is occurring statewide, included the following:

   • Voter eligibility information in the Diebold electronic pollbooks differs from

       the Secretary of State’s official voter registration records. (Clark Decl., Doc

       258-1, at 108-109, ¶¶ 10–15; Bowers Decl., Doc 258-1, at 72-75, ¶¶ 35–46;

       Marks Decl., Doc 258-1, at 262, ¶ 2);

   • Inaccurate political party designation in electronic pollbook has caused voter

       disenfranchisement (Luse Decl., Doc 258-1, at 258-259, ¶¶ 6–8);

   • Unauthorized changes in the voter registration records, including changing

       polling places and assigning voters to incorrect districts (Mitchell Decl., Doc

       258-1, at 287-288, ¶¶ 8-11);



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    • Inaccurate DRE electronic ballots causing the DRE screen to display wrong

       districts and candidates during early voting – subjecting unwary voters to

       disenfranchisement. (Kadel Decl., Doc 258-1, at 120-123, ¶¶ 8-28);

       In addition, on September 21, 2018, the Superior Court of Banks County has

ordered a special election in December for the House District 28 election in five

counties because of voter registration and electronic pollbook errors. The court

found: “At least 74 votes were assigned to the wrong district, and voted in the

wrong election in the May 22, 2018 House District Republican Primary Election.”

Gasaway v. Ellison, No. 18-CG-249 (Superior Court of Banks County), at 4.5 If

the relief requested is not granted, the possibility of numerous similar election

challenges will increase exponentially.

       The record in this case shows that errors of the type above are indicative of

what experts would expect to see if Georgia’s voting system were in fact either

compromised by malware or else suffering from programming errors or other

sources of computer system malfunction. (Bernhard Decl., Doc 258-1, at 10, ¶ 49).




5
  The Order in Gasaway v. Ellison, No. 2018-cv-249, Superior Court of Banks County, is attached hereto
as Exhibit I.
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              c)     Defendants have no equities

       Defendants have not addressed the electronic pollbook discrepancies. At the

hearing, no witness for the Defendants described any effort to correct the numerous

types of errors in the electronic pollbooks. Crucially, Defendants presented no

evidence or argument suggesting that an audit and subsequent corrections of

pollbook data would not be feasible or even burdensome.

              d)     Relief sought

       The relief that the Coalition Plaintiffs are seeking includes two parts. First,

the Secretary should be ordered to audit the electronic pollbook data and its source

record, the voter registration database, to the fullest extent possible in the runup to

the November election to identify and correct discrepancies between electronic

pollbook voter data and the most accurate official voter registration data

maintained by the Secretary. This Motion does not attempt to specify the exact

protocols that the State Defendants should follow to obtain the most accurate voter

data available and use it in the polling places, but it does ask this Court to require

the State Defendants to confer with the Coalition Plaintiffs and file a report with

the Court within five days detailing the audit and data correction procedures and

timeline that the State Defendants will follow.


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       Second, this Motion asks the Court to require that, after voter-database

discrepancies are corrected and the voter registration database is updated to reflect

early voting and create electronic pollbooks, updated paper backup copies of the

pollbooks be required to be delivered to and maintained at all polling places on

Election Day. Using paper backups of electronic pollbooks is a standard

recommended procedure6 to avoid polling place voter disenfranchisement that can

emanate from electronic failures or mechanical or power failure. (McReynolds

Decl., Doc. 277, at 98–100, ¶¶ 13–20; Martin Decl., Doc 277, at 81, ¶¶ 16–17;

Bernhard Decl., Doc 277, at 42–43, ¶ 12.) The paper backups should be used as the

official record on Election Day for adjudication of any electronic-pollbook

discrepancies related to voter eligibility and polling-place assignment.

               e)      Conclusion

       The Court has already found that Plaintiffs have shown a substantial risk that

the entire DRE system, including the electronic pollbooks, is sufficiently

compromised, vulnerable, and insecure so as to violate Plaintiffs’ constitutional

rights. Granting the Coalition Plaintiffs’ requested relief with respect to electronic


6
 For instance see Brennan Center for Justice’s “Election Security Advance Planning Checklist.”
https://www.brennancenter.org/sites/default/files/publications/2018_08_13_ChecklistV4.pdf


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pollbook data corrections will redress the imminent injury to voters’ rights

presented by this specific form of election interference, involves none of the

logistical challenges associated with adopting paper ballots, and will directly

reduce voter disenfranchisement and voter confusion.

          2.      Audit of Scanned Paper-Ballot Tabulations

                  a)      Factual background

          The publicity surrounding the vulnerability of Georgia’s paperless DRE

machines has led to dramatically increased public interest in voting on paper by

mail ballot. Both leading gubernatorial candidates are aggressively encouraging

voters to vote by mail absentee ballots, sending out mailers containing absentee-

ballot applications and emails urging supporters to “vote absentee” with links to

absentee mail ballot applications. Such voting is widely being encouraged by

various users on social media.7 Multiple Coalition Plaintiffs and members now

intend to vote by absentee mail ballot and, along with candidates, are encouraging

others to do so in order to cast a ballot that permits later confirmation of voter




7
    See Declaration of M. Marks, attached hereto as Exhibit F.
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intent. (See attached Exhibits B – E (Decls. Smythe DuVal, Laura Digges,

William Digges III and Ricardo Davis)).8

        Even if there were no increase in the number of absentee mail ballots cast

this November, the State will be required in the upcoming election to scan and

count hundreds of thousands of paper mail and provisional ballots. Doing so

accurately and correcting discrepancies could easily make a difference in the

outcomes of statewide or local elections, and increase lagging voter confidence.

        Paper ballots are scanned and tabulated by Diebold AccuVote Optical Scan

units located in the county election offices. On election night, the memory cards

from the scanners are uploaded to the Diebold GEMS server and combined with

the data from the DREs to create unofficial consolidated results. (TAC, Doc. 226,

at ¶¶ 76–78). It is well-recognized that the Diebold scanners and the Diebold

GEMS server are generally vulnerable to malware and programming errors. (Doc.

258-1, at 36–37). Georgia’s optical scanners and GEMS servers are particularly at

risk given the security breach of the KSU server and the State Defendants have




8
  This decision is unsurprising, for voting by mail-in absentee ballot is the remedy that was suggested by
the Defendants themselves at the last preliminary injunction hearing as a way that voters could attempt to
avoid the injury of having to use a DRE when voting in person. (Tr. 27:19-21; Tr. 58:17-22).
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produced no evidence that any such risks have been mitigated. (See, e.g. Tr. 221 –

224).

                b)      Relief Initially Sought and Court’s Disposition

        The Coalition Plaintiffs’ original Motion sought a paper-ballot election and

requested that the Court “order the Defendant State Election Board Members to

promulgate rules requiring and specifying appropriate procedures for conducting

pre-certification audits.” (Doc. 258, at 2).9 Because pre-certification audits were

proposed in connection with Plaintiffs’ request to replace the DRE machines with

paper ballots altogether, the Court understandably did not address the request in the

Order. However, the request for this relief remains warranted on the basis of the

existing record and the Coalition Plaintiffs respectfully ask that it be granted.

                c)      Relief Sought in this Motion

        The Coalition Plaintiffs respectfully request that this Court order the

Defendants to conduct pre-certification audits of the processing of paper ballots,

under the protocols developed by Coalition Plaintiffs’ expert, Dr. Philip Stark, and

as set forth in the Proposed Order, which will avoid the administrative law




9
 This request for injunctive relief followed a formal demand sent to the State Defendants in April 2018
asking them to disinfect the AccuVote Optical Scan and GEMS servers. (Doc. 258-1, at 97.)
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technicalities raised by the State Elections Board.10 (See Stark Decl. ¶ 10-13

(attached as Exhibit G)).

                d)      Equities Favor Granting Relief

        An order requiring the State Defendants to develop and implement

appropriate plans for pre-certification audits is not a “wholesale change” in the

voting process nor will it “run the voting process and voter participation amuck.”

(Order at 2). Post-election audits have no impact on the electors’ voting

experience or poll worker duties in the polling place, but they will strengthen voter

confidence in the integrity of the election results and will help prevent interference

with the election results in the form of hacking the processing of paper ballots.

This requested element of injunctive relief, therefore, should be granted.




10
   In their original Motion, the Coalition Plaintiffs asked that the Court “order the Defendant State
Election Board Members to promulgate rules requiring and specifying appropriate procedures for
conducting pre-certification audits of the results” of both the November and December elections. (Doc.
258, at 2). Vice-Chair of the State Elections Board, Rebecca Sullivan, submitted a declaration stating
that the SEB does not have the capacity to make such rules under its normal rule-making process in time
for the November elections. Yet as the Curling Plaintiffs explained in their Post-Hearing Brief, Ms.
Sullivan “is tellingly silent on the SEB’s authority and capacity to make rules under emergency
circumstances, such as imminent hacking of the statewide election system that would deprive voters of
their constitutional right to vote.” (Doc. 301 at 5 (citing O.C.G.A. § 50-13- 4(b) (permitting an agency to
adopt emergency rules without prior notice or hearing) and O.C.G.A. § 50-5-71 (granting emergency
purchasing authority to any state officer or board)).)
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B.        Relief Flowing From Court’s Order

          1. County Freedom to Use Paper Ballots

          The Court’s denial of the Plaintiffs’ motions was based in substantial part on

the burdens associated with a state-wide implementation of paper ballot and ballot

scanning voting systems for the 2018 election cycle. (Order at 41.) In support of

this finding, the Court cited declarations from officials from five large Georgia

counties. (Id.)

          There may be counties, however, in which the local board of elections

determines that the switch to paper ballots is feasible, if not for the November

elections, for the December runoff and special elections or the elections scheduled

for 2019. For example, in Coweta County, the Election Director is reported to

have stated that if paper ballots were adopted, “we would have just had to order

more ballots and we would have just used the machines we have.”11 In fact,

approximately 125 of Georgia’s 159 counties conduct all early voting at a single

location—the county election office12—where all styles of paper ballot inventory

are already maintained and from which all mail-in absentee ballots are distributed


11
     http://times-herald.com/news/2018/09/coweta-elections-chief-voting-machines-are-secure
12 For a list of May 22, 2018 early voting locations, see https://mbernhard.com/ev.pdf.
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to voters. With respect to these counties, at least, all of the equitable

considerations weigh in favor of granting equitable relief and allowing the use of

paper ballots in those counties.

          The Secretary, however, has taken the position that Georgia statutory law

requires the use of DRE machines state-wide. (Doc. 258 at 103 (August 1, 2018

Memorandum from C. Harvey to Count Election Officials, at page 2). The State

Board of Elections has issued a rule requiring the use of DREs in all elections. Ga.

Comp. R. & Regs. R. 183-1-12-.01. (Doc. 309 at 23). As the Court held, however,

the Secretary’s position and SEB regulations are not consistent with Georgia

statutory law, which does not require DRE use state-wide.13

          In this Motion, the Coalition Plaintiffs seek an order stating that for all

upcoming elections, including the November elections, if an individual county

wishes to make the decision to switch to paper ballots, the State Defendants may



13
     The Court held that this was not a correct reading of Georgia statutory law:
          Defendants assert that the State Defendants (the Secretary and the State Election Board)
          do not mandate the use of DREs. Defendants maintain that the State Defendants are
          merely implementing the governing state law, which they are bound to do. . . .But
          O.C.G.A. § 21-2-383(b) does not require the use of DREs as Defendants claim it does.
          The statute requires absentee electors who vote in-person in the advance voting period to
          vote by DRE, but only “in jurisdictions in which direct recording electronic (DRE)
          voting systems are used at the polling places on election day.”
(Doc. 309 at 23).
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not directly or indirectly prevent the county from doing so, whether by invoking

the SEB rule or otherwise. Granting the narrow relief is fully consistent with the

findings and holdings of this Court in its Order.

       2.     Manual Vote Tally Comparison

       In their initial Motion, the Coalition Plaintiffs sought to prohibit use of DRE

units entirely and accordingly did not seek alternative relief requiring the State

Defendants to mitigate some of the dangers of DRE use. In this Motion, the

Coalition Plaintiffs seek an order requiring the Secretary to order county election

superintendents prior to election certification to manually compare the electronic

results tallies reported by the GEMS server against the vote totals printed on the

DRE machine tapes printed on election night. As explained by Professor Stark in

his Supplemental Declaration, there should be “manual checks of the accuracy

with which DRE results are reflected in the reported, aggregated contest results.”

(Stark Supplemental Decl., attached as Exhibit G, ¶ 8).

       It is imperative to note that the votes recorded on the DRE machines cannot

be audited to determine the accuracy of the election, so this will not solve the

problem of vulnerability to hacking entirely. The review and comparison requested

here tests the accuracy of the reported vote accumulation starting after the DRE

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tapes have been printed, not whether the votes were recorded accurately, which

cannot be determined because there is no voter verified paper trail.

       However, ordering this procedure will prevent some types of interference

with the election tabulation. On election night, each DRE machine’s results are

printed at the polling location. Two copies of the DRE poll tapes are required to be

delivered to the county election office on election night along with the respective

memory cards that are uploaded to the GEMS server (Election Rule 183-1-

12.02(5)(a)(5-6)). The GEMS server aggregates all the DRE memory card data to

accumulate vote totals and reports the results. Irregularities can be introduced in

the transfer or tabulation of the DRE memory card contents, but can easily be

detected by a comparison of polling place DRE results tapes against the GEMS

server’s precinct reports and aggregated county totals. The record demonstrates

that such errors have indeed occurred in recent elections in Fulton County,

Gwinnett County and Hall County. (258-1 Bowers Decl. p 63-64 ¶ 5-8, p 70-71 ¶

30-33; Marks Decl. p 262 ¶ 3.) Such a comparison can also help detect memory

cards that were mistakenly not uploaded.

       Therefore, the Coalition Plaintiffs seek an order requiring the Secretary to

order county election superintendents that before certification of the election, every

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COALITION PLAINTIFFS’ BRIEF
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electronic results tally included in the aggregated county vote tally be manually

verified against the totals printed on the DRE tape printed in the polling place. In

addition, the Secretary’s directive to the counties should provide that all

discrepancies must be resolved to the satisfaction of the superintendent, generally

the bi-partisan county Board of Elections, and reported to the Secretary of State’s

office prior to the certification of the election. Candidates on the ballot or their

respective parties should also be notified of such discrepancies at the time that the

Secretary of State is notified.

C.  PAPER BALLOTS FOR ELECTIONS AFTER THE NOVEMBER
ELECTION

       The basis for denying the requested preliminary injunction rested entirely on

the limited time available to switch from DRE machines to paper balloting.

(Order, Doc. 309 at 41). The Court also found, however, that this excuse would

not extend beyond the November elections. The Coalition Plaintiffs therefore have

moved to preliminarily enjoin Defendants from using DREs in any election after

the November general elections.

       The excuses of timing and administrative inconvenience are no defense to an

order requiring the State Defendants to switch to paper ballots for elections on and

after January 8, 2019. The 2019 elections are much smaller and months from being
                                         Page 22

COALITION PLAINTIFFS’ BRIEF
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underway. The State Defendants and counties plainly have sufficient time to

implement any and all procedures necessary to conduct these elections as paper-

ballot elections. Granting preliminary injunctive relief now for elections in 2019

will also ease the pressure on the discovery schedule and preserve the status quo

pending a trial on the merits.14 There simply is no reason to allow the State

Defendants to continue to violate the Plaintiffs’ constitutional rights.

        As to the December 4, 2018 special elections and potential runoff elections:

the Plaintiffs’ initial motions addressed both the 2018 November and December

runoff elections jointly, and the Court’s Order denying relief did the same. But the

equities and public interests involved in two remaining 2018 elections are much

different, for the following reasons.

        First, the turnout for the December elections will most likely be far less than

for the November election. Attached as Exhibit H is a table comparing voter

turnout for various elections, which shows that turnout for run-off and special

elections tends to be far less than for general or special elections. To be sure, if

there is a run-off in the Gubernatorial race the turnout could be higher than usual,


14
   The Coalition Plaintiffs nonetheless continue to respectfully request that this Court adopt the expedited
Joint Discovery Schedule proposed by the Plaintiffs and to set this case down for trial on the merits, if
possible, in February 2019.
                                                 Page 23

COALITION PLAINTIFFS’ BRIEF
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but in that scenario the need for an auditable paper trial would be even more

compelling.

        Second, an order entered prior to the November elections enjoining the State

Defendants from using DREs in the December run-offs and special elections will

not interrupt the preparation for the run-offs because that preparation cannot even

begin until the general election is certified, expected to be November 13, 2018.

After election day, the State Defendants will have to build the ballots for the run-

offs and order the printed ballots in time for mail ballots, and provisional voting for

the run-offs, regardless of whether this injunctive relief is granted. The only

difference will be that, instead of using vulnerable DREs, the State Defendants will

need to order more paper ballots. Indeed, using paper ballots for the December

run-offs and special elections may be significantly more convenient for the State

Defendants than using DREs: under state law, the State Defendants may not reuse

the DREs used in the November 6 for thirty days. 15 For early and election day



15
   Election Rule 183–1–12–.02(6)(d) states: “The election results, ballot styles, ballot images, and other
information for each election stored in the internal memory storage of each DRE unit shall be maintained
for a minimum of one month following each election after which time the results may be erased provided
that there are no election contests pending concerning such election.” Using the DREs in a subsequent
election will compromise and alter the data in the internal memory that is required to be preserved for at
least thirty days.


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COALITION PLAINTIFFS’ BRIEF
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voting for the run-offs and special elections, therefore, different DREs must be

programmed, tested, transported and deployed if DREs are to be used.16

       Finally, any compromise of the November election, whether through

malware, programming errors or more pedestrian system failures, will likely not

become apparent until it is too late to plan for verifiable paper ballot elections for

the December or early 2019 elections. Ordering this injunctive relief now, for both

the December and 2019 elections, would therefore clearly serve the public interest.




16
 Early voting for the December 4, 2018 House District 28 Special Election is required to begin
November 12, 2018. See Gasoway, Order at page 6 (attached as Exhibit I).
                                               Page 25

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       For the foregoing reasons, the Coalition Plaintiffs’ Motion for Addition

Injunctive Relief should granted.

       Respectfully submitted this 2nd day of October, 2018.

 /s/ Bruce P. Brown                  /s/ Robert A. McGuire, III
 Bruce P. Brown                      Robert A. McGuire, III
 Georgia Bar No. 064460              Admitted Pro Hac Vice
 BRUCE P. BROWN LAW LLC                (ECF No. 125)
 Attorney for Coalition for          Attorney for Coalition
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 1123 Zonolite Rd. NE                Robert McGuire Law Firm
 Suite 6                             113 Cherry St. #86685
 Atlanta, Georgia 30306              Seattle, Washington 98104-2205
 (404) 881-0700                      (253) 267-8530

 /s/ William Brent Ney
 William Brent Ney                 /s/ Cary Ichter
 Georgia Bar No. 542519            CARY ICHTER
 Attorney for Coalition            Georgia Bar No. 382515
 for Good Governance, William      Attorney for William Digges III, Laura
 Digges III, Laura Digges, Ricardo Digges, Ricardo Davis and Megan Missett
 Davis, and Megan Missett          Ichter Davis LLC
 Ney Hoffecker Peacock & Hayle 3340 Peachtree Road NE
 1360 Peachtree Street NE          Suite 1530
 Atlanta, Georgia 30309            Atlanta, Georgia 30326
 (404) 842-7232                    (404) 869-7600




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COALITION PLAINTIFFS’ BRIEF
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                              CERTIFICATE OF COMPLIANCE

          I hereby certify that the foregoing document has been prepared in

  accordance with the font type and margin requirements of LR 5.1, using font

  type of Times New Roman and a point size of 14.

                                       /s/ Bruce P. Brown
                                       Bruce P. Brown
                                       Georgia Bar No. 064460
                                       BRUCE P. BROWN LAW LLC
                                       Attorney for Coalition for
                                       Good Governance
                                       1123 Zonolite Rd. NE
                                       Suite 6
                                       Atlanta, Georgia 30306
                                       (404) 881-0700




                                       Page 27

COALITION PLAINTIFFS’ BRIEF
IN SUPPORT OF ADDITIONAL
INJUNCTIVE RELIEF
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                              CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing coalition

PLAINTIFFS’ BRIEF IN SUPPORT OF ADDITIONAL INJUNCTIVE RELIEF

to be served upon all other parties in this action by via electronic delivery using the

PACER-ECF system.

       This 2ND day of October, 2018.

                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
                                        Georgia Bar No. 064460
                                        BRUCE P. BROWN LAW LLC
                                        Attorney for Coalition for
                                        Good Governance
                                        1123 Zonolite Rd. NE
                                        Suite 6
                                        Atlanta, Georgia 30306
                                        (404) 881-0700
                                        Page 28

COALITION PLAINTIFFS’ BRIEF
IN SUPPORT OF ADDITIONAL
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                         Georgia Elections Through December 31, 2019

        The schedule of upcoming elections through December 31, 2019 based on

the Secretary of State’s website is as follows:



          2018-19 Scheduled State Office Elections                   Election Date
          2018 General Election                                      November 6, 2018
          Special Elections1 and Runoff Elections                    December 4, 2018
          Federal Runoff Elections                                   January 8, 2019
          Special Election Date                                      March 19, 2019
          Special Election Runoff Date                               April 16, 2019
          Special Election Date                                      June 18, 2019
          Special Election Runoff Date                               July 16, 2019
          Special Election Date                                      September 17, 2019
          Special Election Runoff Date                               October 15, 2019
          General Election/Special Election Runoff Date November 5, 2019
          General Election/Special Election Runoff Date December 3, 2019

Source: http://sos.ga.gov/index.php/elections/elections_and_voter_registration_calendars.




1
 At least one special election has been scheduled for December 4, 2018, by court order in Banks County
Superior Court, Gasaway v. Ellison (18-cv-249), attached hereto as Exhibit I.
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

                  DECLARATION OF J. SMYTHE DUVAL

      J. SMYTHE DUVAL hereby declares as follows:

  1. I am the Libertarian Party of Georgia’s candidate for Secretary of State in

      the November 6, 2018 election. The Secretary of State’s race is a statewide

      race, and my name is on the ballot in all 159 counties.

  2. I am currently completing work on my Master’s Degree in Information

      Technology at Kennesaw State University, with emphasis in Healthcare IT. I

      am scheduled to receive the degree in December 2018.

  3. My professional experience includes approximately 12 years of IT Project

      Management experience, and approximately 3 years of Senior IT

      Management experience, including experience as a HIPAA Security &

      Privacy officer for a large medical practice.




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4. Because of my experience and technical knowledge of information

   technology and cyber-security risk assessment, I am aware of the security

   deficiencies of Georgia’s DRE voting system, and have read the press

   reports of Georgia voting system’s security flaws and have reviewed several

   declarations of experts in this case, to include serious operational

   deficiencies in the SOS’s implementation of an IT security and compliance

   program.

5. Following the press reports that foreign entities were analyzing Georgia

   government websites, including the Cobb Board of Elections website, I

   reviewed the Plaintiffs’ recommended solution of using Diebold optical

   scanners with the GEMS servers to conduct the November election and as a

   candidate, publicly endorsed that solution. I am aware of the unaddressed

   security flaws in the optical scanner and GEMS server.

6. I attended the September 12, 2018 hearing in this case and heard the

   testimony of Michael Barnes and Chris Harvey. I was stunned to learn that

   no remediation efforts have been taken nor any forensic review undertaken

   by the Secretary of State’s office since the KSU server was exposed to

   anyone with an internet connection.

7. My research as an IT professional and candidate for Secretary of State is that

   the tabulation data can be directly modified after the election by an



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   “insider”, such as an election staff employee, an IT staff member, a

   custodian, a vendor representative, or anyone with unobserved access to

   election equipment following balloting. Additionally, my observation is that

   optical scanners and GEMs servers can easily be compromised with

   malware, introduced either by an “insider” or an external “bad actor.” Either

   scenario has the effect of making a paper trail of questionable value if the

   paper trail is not audited or reviewed against the optical-scan tabulation

   results. The risk of compromise is exacerbated by what I learned from

   testimony at the hearing about the apparent lack of a formal IT security

   program, the lack of an effective compliance and risk management program,

   as evidenced by the following: the lack of curiosity, the failure to formally

   investigate and identify weaknesses/ deficiencies in the IT system, the

   failure to review and identify weaknesses/ deficiencies in the governing

   policies, processes, and procedures of the organization (aka a “root cause

   analysis”) and therefore the lack of any holistic, methodical, or meaningful

   remediation or prevention effort (aka risk management).

8. I have carefully followed and actively participated in voters’ statewide

   efforts to advocate for paper ballots in the polling place in the November

   election. I have spoken at numerous public meetings advocating for the




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   essential and urgent need for paper ballots in Georgia elections to secure our

   elections so that they may be audited and recounted.

9. As a candidate, I have a strong interest in having a reliable, legally

   conducted election that can be recounted, audited, or reviewed in an election

   challenge—and only paper ballots can provide that.

10. I have made public requests of the appropriate county bodies in Georgia

   counties and specifically Cobb County to exercise their legal option to adopt

   paper ballots for the November election, despite the Secretary of State’s

   claim that the counties do not have the authority to do so.

11. In my discussions with local county officials, I have learned that they have

   been told by the Secretary of State’s office that they do not have the

   authority to adopt paper ballots.

12. I still continue to encourage local officials, particularly in smaller counties,

   to switch to paper ballots, given that the vast majority of counties do not

   have multiple early voting centers and therefore seemingly no logical barrier

   to the swift adoption of paper ballots in the polling places.

13. I continue to encourage local county officials’ immediate adoption of paper

   ballots, despite the Secretary of State’s claims that the local officials have no

   authority to do so, and although the Court determined that paper ballots

   would not be required in the polling places in November’s election.



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14. After the Court’s decision, I reluctantly began advocating that voters opt for

   voting by mail ballot, because paper ballots can be recounted and audited

   and used as evidence in any potential post-election challenge. During

   upcoming Secretary of State candidate forums, I will advocate for mail

   ballots for this election, encouraging all ballots to be cast that in a way that a

   paper trail is created.

15. My strong preference is to vote on Election Day in my local precinct along

   with other voters, particularly since I am a candidate, and I want to be seen

   by voters exercising the right to vote. I also want the full benefit of acquiring

   the latest news and information on all matters on the ballot, right up until

   Election Day. I want all voters to have these same two benefits of voting on

   Election Day.

16. However, I have to forego those two important benefits to cast a ballot with

   an auditable paper trail, and encourage others to do so, given that Election

   Day voting is limited to unauditable and unreliable DRE voting.

17. My overriding goal is to cast a secure ballot that I am confident reflects my

   intent that can be recounted and tested. Therefore, I am making the reluctant

   choice to vote several days prior to Election Day by mail ballot, foregoing

   the benefits of voting on Election Day, and suggesting that voters do the

   same.



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         IN THE UNITED STATES DISTRICT COURT FOR
            THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION




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   I With 1)] [[II

1. 1 am a Georgia voter, registered to vote at my residence 3478 Chastain Glen




                         MMUM
3.1 plan to vote by absentee mail ballot in the November 6, 2018 because

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4.My strong preference is to vote on Election Day at my neighborhood

   precinct with my neighbors and participate in the shared local civic

   experience with the benefit of the latest news and information on candidates
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   5. However, my priority is to cast a secure ballot that I am confident reflects

      my intent, but this is impossible to do by voting on the DREs provided on

      Election Day. Therefore, I am making the unwelcome choice to vote several

      days prior to Election Day by mail ballot, foregoing the benefits of voting on

      Election Day.

   6. I understand that I must mail or deliver my mail ballot well before Election

      Day in order to ensure that it is delivered and accepted in time for me to cure

      possible delivery failure or any alleged deficiencies in signature match or

      oath information details. Although this is a disadvantage in casting my ballot

      before Election Day, I will reluctantly accept this voting disadvantage for

      the benefit of casting a paper ballot that can be recounted and audited.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the

foregoing is true and correct.



Executed on this date, September 27, 2018



                                 Laura Digges
Case 1:17-cv-02989-AT Document 327-1 Filed 10/02/18 Page 42 of 68




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                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


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              ill be votin g in the November 6, 2018 electi onim. Iplan to vote inr
                                                                                  all

        future elections for which I am eligible to vote. I vote in every election of




        Ir1Mu

    4. My definite preference is to vote on Election Day at my local precinct with

        my community and participate in the community experience, also with the
       Case 1:17-cv-02989-AT Document 327-1 Filed 10/02/18 Page 44 of 68




   5. 1 wish to cast a secure ballot that I reflects my intent, but this is impossible


       to doh.A'.voting tiulthe DREsIprovided by CobblCounty in t       polling p F.

       Therefore, I am making the unfortunate choice to vote several days prior to




      Election Day in order to confirm that it is delivered and approved in time for

       me to cure possible delivery failure or any technical deficiencies in signature

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      Day,I will reluctantly accept this voting disadvantage for the benefit co




[ declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the




                                 William DiggesI
Case 1:17-cv-02989-AT Document 327-1 Filed 10/02/18 Page 45 of 68




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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

                   DECLARATION OF RICARDO DAVIS

      RICARDO DAVIS hereby declares as follows:

  1. I am a registered Georgia voter residing at 206 Hunters Mill Lane,

      Woodstock, Georgia 30188.

  2. I will be voting in the November 6, 2018 election, and plan to vote in all

      future elections for which I am eligible to vote. I generally vote in every

      election of which I am aware that I can participate.

  3. I plan to vote by absentee mail ballot in the November 6, 2018 because

      paper ballots will not be issued at the polling places in Cherokee County on

      Election Day.

  4. This is consistent with my usual practice of voting by paper mail-in ballot,

      which I elected to do some years ago when the DRE system deficiencies

      were exposed. As an Information Technology professional I understand that
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   Georgia’s DRE machines cannot be audited; therefore I consistently choose

   mail-in ballots as my typical method of voting.

5. I am the State Chairman of the Constitution Party of Georgia, a conservative

   political party. I will encourage our members and supporters to vote by mail

   in the November 6, 2018 election despite some of the disadvantages. Voting

   by mail at least preserves an auditable record of the voters’ intent, which

   Georgia’s DRE machines cannot do.

6. In my estimation, encouraging voters to vote on auditable paper ballots helps

   improve voter confidence and turnout. Over the years Georgia voters have

   heard reports about Georgia’s unauditable elections systems and the failure

   of the Georgia state legislature and the Secretaries of State to rectify the

   problems as many other states have done. Now that the DRE’s computer

   security issues are a reoccurring topic in national news Georgia voters are

   rightly concerned that if their electronic votes are manipulated then it would

   be very difficult to impossible to detect, which may discourage them from

   voting.

7. Given my technical familiarity with the elevated security risk of Georgia’s

   DRE voting system, I am aware that paper ballots alone do not assure that

   ballots are counted accurately. Optical scan machines and the GEMS servers
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                            )
DONNA CURLING, et al.                       )
                                            )
Plaintiff,                                  )
                                            )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                         )   2989-AT
                                            )
BRIAN P. KEMP, et al.                       )
                                            )
Defendant.                                  )
                                            )
                                            )

                   DECLARATION OF MARILYN MARKS

      MARILYN MARKS hereby declares as follows:

  1. I am the Executive Director of Coalition for Good Governance.

  2. In the last few weeks I have seen a considerable number of ads from

      candidates and their supporters in both major political parties advocating for

      voting by mail ballot.

  3. An example of Republican gubernatorial candidate Brian Kemp’s ad for

      mail ballots is linked here. https://action.kempforgovernor.com/absentee-

      ballot/#1

  4. An example of Democratic gubernatorial candidate Stacey Abrams’s ad for

      mail ballots is linked here.

      https://www.facebook.com/stacey.abrams.77/videos/263868541001096/
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   5. Smythe DuVal, Libertarian candidate for Secretary of State recommends

      mail ballots under the circumstances. (Duval Decl. ¶ 14) and has Tweeted

      his recommendation linked here

      https://twitter.com/JSmytheDuVal/status/1045393188108861440

   6. The desire for paper ballots in the Georgia’s November election is being

      promoted by celebrities such as Alyssa Milano, advocating for mail ballots.

      Her Tweet is linked here.

      https://twitter.com/Alyssa_Milano/status/1046444231664062464

   7. As Executive Director of Coalition for Good Governance, I have been

      contacted in the last two weeks by dozens of Georgia voters asking for

      advice on the safety of voting by mail ballot because they had seen candidate

      ads suggesting it.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the

foregoing is true and correct.



Executed on this date, October 2, 2018


                                  _____________________________
                                  Marilyn Marks
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                                    )
DONNA CURLING, et al.                               )
                                                    )
Plaintiff,                                          )
                                                    ) CIVIL ACTION FILE NO.:
vs.                                                 ) 1:17-cv-2989-AT
                                                    )
BRIAN P. KEMP, et al.                               )
                                                    )
Defendant.                                          )
                                                    )
                                                    )



         SUPPLEMENTAL DECLARATION OF PHILIP B. STARK

        PHILIP B. STARK hereby declares as follows:

  1. This statement supplements my statement of September 9, 2018 regarding the need for

      post-election audits generally, and in Georgia specifically. I stand by everything in the

      previous declaration, but in light of the court’s decision to allow the State of Georgia to

      conduct the November 2018 elections using its current equipment, I wish to add a few

      recommendations.

  2. I understand that in the upcoming 6 November 2018 election, some voters will cast their

      votes using polling-place DRE machines. I understand that other voters will cast paper

      ballots that will be tabulated using Diebold Accu-Vote optical scanners.

  3. There is no way to ensure that DREs correctly record and tabulate votes, because there is

      no voter-reviewed, durable, tamper-evident record of the votes cast on DREs, and it is

      possible to alter DRE software undetectably. Unless so few voters cast their votes using

      DREs that those votes cannot change the outcome of the contests under audit, there is no
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   way to audit election outcomes in Georgia that guarantees a high probability of detecting

   and correcting incorrect election outcomes (i.e., a risk-limiting audit).

4. Nonetheless, I recommend that a sample of DREs be audited forensically, both before the

   election (but after the DREs have been configured for the election) and after the election.

   I recognize that there might not be time for a complete forensic examination of machines

   before contest results are certified, owing to the short canvass period in Georgia.

   However, such an examination should be conducted as soon as possible after the election,

   to inform the conduct of future elections.

5. The forensic examination should be performed by appropriate independent security

   experts and/or suitably skilled law enforcement personnel. While such examination

   cannot be guaranteed to detect all tampering, bugs, or hacking, it could detect some kinds

   of problems and it could discourage malicious tampering.

6. The sample of machines inspected forensically after the election should include any

   machines for which the reported results are suspicious or anomalous, for instance,

   because they report more votes than the number of voters reflected in the pollbooks, or

   because they report a surprisingly large number of undervotes in one or more contests.

7. The samples should also include a number of randomly selected machines. The number

   of machines selected randomly for forensic auditing after the election should be large

   enough to ensure that if a material number of DREs used in the election had their

   software or firmware altered detectably, there is a large chance that the forensic audit will

   find at least one such machine. The number of machines that should be considered

   material depends in part on contest margins and the number of votes cast on each DRE. If

   the court orders the state to conduct such audits, I will gladly make myself available to
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   determine appropriate sample sizes, to draw the random sample, and to conduct other

   statistical calculations as needed.

8. I recommend that there be manual checks of the accuracy with which DRE results are

   reflected in the reported, aggregated contest results: every uploaded electronic tally from

   a DRE should be checked manually against the totals printed in the polling place when

   the polls close on election night. The DRE results should also be checked for obvious

   problems, such as reporting more votes than voters at a polling place.

9. I also recommend that the accuracy of the tabulation of the votes on paper ballots be

   checked by a post-election audit involving manually inspecting a random sample of

   ballots, as described below. Even though perfect tabulation of the votes cast on paper

   ballots cannot in general guarantee that contest outcomes are correct (because some votes

   are cast on DREs), auditing the accuracy of the tabulation of votes cast on paper ballots is

   valuable for many reasons, including as a deterrent.

10. I recommend auditing the tabulation of as many contests as practicable, giving priority to

   statewide and federal contests. The method of determining which contests to audit is not

   crucial, provided it is not possible for anyone to know which contests will not be audited

   before election results have been announced. Otherwise, a malicious actor could avoid

   any possibility of detection. An example of a reasonable rule would be to audit every

   statewide and federal contest, and a random sample of three within-county contests in

   each county.

11. I recommend recording voter intent for every contest represented on every ballot

   inspected by the audit, even contests that are not the deliberate target of the audit, and
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   making those data publicly available. Such data can provide additional information about

   the accuracy of the tabulation of other contests at negligible marginal cost.

12. For contests deliberately subject to audit, I suggest that the audit ensure with at least 95

   percent confidence that the error (in votes) in the tabulation does not exceed the margin

   of the contest (in votes), times the percentage of ballots in the contest that were cast using

   paper ballots. In California law, this is called a “partial risk-limiting audit.”

13. Statistical methods and example software that could be used to perform such audits are

   given in Ottoboni, K., P.B. Stark, M. Lindeman, and N. McBurnett, 2018 (in press).

   Stratified Union-Intersection Tests of Elections (SUITE), Electronic Voting. E-Vote-ID

   2018. Lecture Notes in Computer Science, Springer. Preprint:

   https://arxiv.org/abs/1809.04235, last visited 29 September 2018. If the court orders such

   post-election audits, I will gladly make myself available to help design and conduct the

   audit, including providing software to support the audits, and training for election

   officials.

14. If Georgia election officials undertake post-election auditing of paper ballots, I urge that

   they consult with non-profit organizations experienced in post-election risk-limiting

   audits to tailor existing procedures to Georgia’s circumstances quickly, inexpensively,

   and reliably. The procedures need to ensure that the paper records remain trustworthy,

   through measures such as ballot accounting, verified chain of custody, two-person access

   rules, and appropriate physical security and surveillance.

15. Post-election auditing has no impact on voters’ experience casting their votes nor on

   pollworkers’ duties at the polling places: the audit is conducted in the election officials’

   offices after polls close, not at polling places.
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I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the foregoing is true

and correct.



       Executed on this date, September _30,_ 2018.




                                             _______________________________

                                                     Philip B. Stark
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                                   Exhibit H – Vote Turnout Table1
                                                                                              Special and               General and
                                                                                             Runoff Ballots              Primary
                                                                                                 Cast                   Ballots Cast
    Election Date

    2018

    General Primary and Nonpartisan General Election Runoff -
    July 24, 2018                                                                                     750,000*

    General Primary and Nonpartisan General Election - May 22,
    2018                                                                                                                     1,175,000*

    Special Election - February 13, 2018                                                                    3,331

    Special Election - January 9, 2018                                                                      9,297

    2017

    Special Election - December 5, 2017                                                                 129,857

    Special Election - November 7, 2017                                                                 249,327

    Special Election Runoff - June 20, 2017                                                             260,455

    Special Election Runoff - May 16, 2017                                                                32,701

    Special Election - April 18, 2017                                                                   192,756

    Special Election Runoff - January 10, 2017                                                              6,782

    2016

    Special Election - December 13, 2016                                                                    4,971

    General Election - November 8, 2016                                                                                       4,165,405


1
  The source of this information is the web page of the Georgia Secretary of State. The asterisk (*) indicates that accumulated actual
totals of turnout were not reported, but were estimated by Coalition Plaintiffs based on the supporting documents posted on Secretary
of State webpage http://sos.ga.gov/index.php/Elections/current_and_past_elections_results

                                                                  1
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General Primary and Nonpartisan General Election Runoff -
July 26, 2016                                                 Not Available

General Primary and Nonpartisan General Election - May 24,
2016                                                                           1,000,000*

Special Election Runoff - April 26, 2016                             1,290

Special Election - March 29, 2016                                    2,632

Presidential Preference Primary - March 1, 2016                                2,062,000*

Special Election Runoff - February 16, 2016                          1,137

Special Election - January 19, 2016                                    836

2015

Special Election - December 1, 2015                                 21,140

Special Election - November 3, 2015                                 57,260

Special Election Runoff - August 11, 2015                           13,403

Special Runoff Election - July 14, 2015                              6,258

Special Election - July 14, 2015                                    14,449

Special Election - June 16, 2015                                     6,571

Special Election Runoff - February 3, 2015                           7,957

Special Election - January 6, 2015                                   7.988

2008 (Last statewide runoff)


Dec. 2, 2008 runoff                                             2,145,000*

Nov 4, 2008 General election                                                   3,950,000*




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